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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 8:20-cv-01142-AFM                                             Date: April 22, 2021
Title      Michael R. Romkema v. Andrew Saul



Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                       N/A                                                  N/A

Proceedings (In Chambers): ORDER TO SHOW CAUSE

       Pursuant to the Stipulation and Order extending the briefing schedule, Plaintiff’s
Memorandum in Support of Complaint was due on April 5, 2021. (Order, ECF Nos. 18, 19.) The
docket sheet shows that, as late as the date of this Order, plaintiff has not filed the Memorandum in
Support of Plaintiff’s Complaint. Plaintiff has failed to comply with the Court’s Order.

        Accordingly, IT IS ORDERED that within 20 days of the filing date of this Order, plaintiff
shall show cause in writing why this action should not be dismissed. The filing of Plaintiff’s
Memorandum in Support of Complaint within 20 days shall discharge the order to show cause and
all other deadlines required by the Case Management Order will be extended accordingly.

        IT IS SO ORDERED.




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                                                                    Initials of Preparer           ib




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